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10
11 Attorneys for Defendants
12
13                                UNITED STATES DISTRICT COURT

14                               NORTHERN DISTRICT OF CALIFORNIA

15                                   SAN FRANCISCO DIVISION

16 IN RE LUMINENT MORTGAGE CAPITAL,                 Case No.: C-07-04073 PJH
     INC. SECURITIES LITIGATION
17                                                  CONFIDENTIALITY STIPULATION
                                                    AND [PROPOSED] ORDER
18
                                                    REGARDING PRE-MEDIATION
19 This Document Relates To:                        DISCLOSURE MATERIALS
                                                     AS MODIFIED BY THE COURT
20          ALL ACTIONS
                                                    The Honorable Phyllis J. Hamilton
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     CONFIDENTIALITY STIPULATION AND [PROPOSED] ORDER REGARDING PRE-MEDIATION
     DISCLOSURE MATERIALS; CASE NO. C-07-04073 PJH
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 1           Lead Plaintiff The Southern Improvement Company, VSA, Inc. and Allen Dayton

 2 (collectively “Plaintiff”), by and through their counsel Lowey Dannenberg Cohen & Hart, P.C. and
 3 Berman DeValerio Pease Tabacco Burt & Pucillo (collectively “Plaintiff’s counsel”); and
 4 Defendants Luminent Mortgage Capital, Inc. (“Luminent” or the “Company”), S. Trezevant Moore,
 5 Jr., Christopher J. Zyda, and Gail P. Seneca (collectively “Defendants”), by and through their
 6 counsel Heller Ehrman LLP (“Defense counsel”) hereby stipulate and agree, pursuant to Federal
 7 Rule of Civil Procedure 26(c), to this Confidentiality Agreement and Order (“Agreement”) in In re
 8 Luminent Mortgage Capital, Inc. Securities Litigation (Case No.: C-07-04073 PJH) (“Class Action
 9 Litigation”) pending in the United States District Court for the Northern District of California (the
10 “Court”).
11           The parties have agreed to discuss the possibility of resolving this matter and have therefore

12 scheduled a mediation session before David Geronemus of JAMS, in New York City, on July 11,
13 2008. Plaintiff and Plaintiff’s counsel and Defendants and Defense counsel have agreed that the
14 prospects for successful mediation may be improved if certain limited materials are provided to
15 Plaintiff solely for the purpose of facilitating ongoing settlement discussions in the Class Action
16 Litigation.
17           Defendants have filed a motion to dismiss Plaintiff’s Consolidated Class Action Complaint

18 (the “Complaint”), and in consequence, under the Private Securities Litigation Reform Act of 1995
19 (“PSLRA”), discovery in this action is stayed and Plaintiff is not entitled to conduct discovery for
20 the purposes of amending, modifying or improving the Complaint. For the parties to be able to
21 engage in early settlement negotiations with the benefit of information that may not be available in
22 the public domain, while at the same time protecting Defendants from the prejudice that might
23 result from their production of internal corporate documents to Plaintiff prior to expiration of the
24 PSLRA stay and while a motion to dismiss is pending, the parties have entered into this
25 Confidentiality Stipulation Regarding Pre-Mediation Disclosure Materials for the purpose of
26 maintaining the confidentiality, and limiting the use, of certain materials and information provided
27 hereunder. Accordingly,
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                                                      1
     CONFIDENTIALITY STIPULATION AND [PROPOSED] ORDER REGARDING PRE-MEDIATION
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 1           IT IS HEREBY AGREED:

 2           1.     Pre-Mediation Disclosure Material. Documents produced by Defendants to

 3 Plaintiff hereafter in connection with Plaintiff’s pre-mediation disclosure requests shall be
 4 considered Pre-Mediation Disclosure Material. Pre-Mediation Disclosure Material shall also
 5 include any information copied or extracted from such documents, as well as copies, excerpts,
 6 summaries, or compilations thereof. In addition to any additional provisions below, California
 7 Evidence Code sections 1119, 1120 and 1126 shall apply to all Pre-Mediation Disclosure Material.
 8           2.     Use of Pre-Mediation Disclosure Material. All Pre-Mediation Disclosure Material

 9 described in No.1 above, and any information contained therein or derived therefrom, shall be used
10 only in this action and no other litigation or proceeding; shall be used solely for the purpose of
11 facilitating ongoing settlement discussions in the Class Action Litigation, and for no other purpose;
12 and shall not be disclosed to anyone, except counsel in this action, non-testifying consultants in this
13 action who are bound to preserve the confidentiality of such materials, or David Geronemus, the
14 mediator jointly designated by Plaintiff and Defendants, provided that nothing herein shall preclude
15 Plaintiff’s counsel from disclosing Pre-Mediation Disclosure Material or their contents to Plaintiff,
16 subject to such Plaintiff’s agreement in writing to be bound by this Stipulation.
17           3.     Restrictions on Use. Defendants have filed a motion to dismiss Plaintiff’s

18 complaint on the grounds that it does not meet the standards set forth in the PSLRA. Discovery of
19 Pre-Mediation Disclosure Material is not otherwise available to Plaintiff under the PSLRA while a
20 motion to dismiss is pending unless permitted by order of the Court pursuant to 15 U.S.C. § 78u-
21 4(b)(3), and Pre-Mediation Disclosure Material shall not be used in any way to modify, amend or
22 improve any complaint in this action, nor as the basis for evidence or arguments that might be
23 offered in opposition to any motion to dismiss filed pursuant to the PSLRA. Pre-Mediation
24 Disclosure Material may not be used for any purpose other than in connection with settlement
25 analysis, settlement negotiations, and mediation in this action. No Pre-Mediation Disclosure
26 Material may be filed with the Court or attached as exhibits to any pleading or filing, and no Pre-
27 Mediation Disclosure Material may be quoted, paraphrased, summarized, digested or referred to by
28 Plaintiff in any pleading or other filing in court under any circumstances without the prior written
                                                      2
     CONFIDENTIALITY STIPULATION AND [PROPOSED] ORDER REGARDING PRE-MEDIATION
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 1 consent of Defendants. Nothing herein, however, limits Plaintiff’s ability to use any Pre-Mediation
 2 Disclosure Material that is subsequently and independently produced in discovery in later
 3 proceedings.
 4          4.      Return and/or Destruction of Pre-Mediation Disclosure Material. If the parties

 5 are not able to achieve a settlement in principle at the mediation, then, within thirty (30) days after
 6 the mediation before David Geronemus has concluded, all Pre-Mediation Disclosure Material and
 7 copies thereof, including Pre-Mediation Disclosure Material in the hands of non-testifying
 8 consultants, shall be returned to Defendants and/or destroyed. Plaintiffs shall delete confidential
 9 Pre-Mediation Disclosure Material from all internal work product of Plaintiff’s counsel, agents, and
10 consultants, including copies, excerpts, summaries, or compilations thereof. Plaintiff’s counsel
11 shall immediately certify in writing that the confidential Pre-Mediation Disclosure Material has
12 been destroyed, deleted and eliminated in the manner required herein.
13          5.      Information Not Subject to the Terms of this Agreement. This Agreement has

14 no effect upon, and shall not apply to, a party’s use or disclosure of its own confidential information
15 for any purpose. Nothing contained herein shall impose any restrictions on the use or disclosure by
16 a party of documents, information or material obtained lawfully by such party independently of this
17 Agreement.
18          6.      Preservation and Termination Provision. Pre-Mediation Disclosure Material will

19 not obtain immunity or exclusion from discovery by virtue of production under this Agreement, and
20 after the expiration or lifting by Court order pursuant to 15 U.S.C. § 78u-4(b)(3)(D) of any stay of
21 discovery in this civil action, may subsequently be subject to discovery as and to the extent
22 permitted by Rules 26 to 27 of the Federal Rules of Civil Procedure. Nothing in this Stipulation
23 shall preclude Plaintiff’s counsel from hereafter seeking discovery of any documents or information
24 from Defendants, nor preclude Defendants from objecting to any request by Plaintiff’s counsel for
25 such documents or information, in accordance with the Federal Rules of Civil Procedure and the
26 PSLRA. Nothing in this Stipulation shall limit the preservation obligations of any party under
27 Section 21D(b)(3)(C) of the Exchange Act, 15 U.S.C. §78u-4(b)(3)(C).
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     CONFIDENTIALITY STIPULATION AND [PROPOSED] ORDER REGARDING PRE-MEDIATION
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 1          7.     Execution. This Agreement may be signed in counterparts, each of which shall be

 2 deemed an original but all of which shall be deemed to constitute a single instrument.
 3          8.     Jurisdiction. All persons who have access to information or material produced

 4 according to this Agreement acknowledge that they are bound by this Agreement and submit to the
 5 jurisdiction of this Court for purposes of enforcing this Agreement.
 6          9.     Survival. Final termination of this proceeding shall not terminate the limitations on

 7 use and disclosure imposed by this Agreement, which shall remain in effect until the parties agree
 8 otherwise or the Court otherwise directs. PJH
 9          10.    Entire Agreement. This Agreement contains the entire agreement between Plaintiff

10 and Defendants regarding its subject matter.
11
12 IT IS SO STIPULATED:
13
     Dated: June 19, 2008
14                                                HELLER EHRMAN LLP
15
16                                                By:      /s/ Daniel J. Dunne
                                                                  DANIEL J. DUNNE
17                                                Attorneys for Defendants Luminent Mortgage Capital,
                                                  Inc., S. Trezevant Moore, Jr., Christopher J. Zyda, and
18                                                Gail Seneca
19
     Dated: June 19, 2008
20                                                LOWEY DANNENBERG COHEN & HART, P.C.

21
                                                  By:    /s/ David C. Harrison
22                                                               DAVID C. HARRISON
23                                                Lead Counsel and Attorneys for Lead Plaintiff and the
                                                  Putative Class
24
     Dated: June 19, 2008                         BERMAN DeVALERIO PEASE TABACCO BURT
25                                                & PUCILLO
26                                                By:    /s/ Nicole LaVallee
                                                                 NICOLE LAVALLEE
27                                                Local Counsel for Lead Plaintiff and the Putative Class
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                                                        4
     CONFIDENTIALITY STIPULATION AND [PROPOSED] ORDER REGARDING PRE-MEDIATION
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                        Case 4:07-cv-04073-PJH Document 153 Filed 06/23/08 Page 6 of 6



                                                                            ISTRIC
              1 Pursuant to Stipulation, IT IS SO ORDERED.
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                     Dated: 6/23/08




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                                                                    IS Hon. Phyllis J. Hamilton
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                                                                    United States District Judge
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                                                                                 yllis J.   Hamilto




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[10/30/2007 16:10]   CONFIDENTIALITY STIPULATION AND [PROPOSED] ORDER REGARDING PRE-MEDIATION
                     DISCLOSURE MATERIALS; CASE NO. C-07-04073 PJH
